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                           EXHIBIT 1
Case 1:16-cv-04756-NGG-VMS Document 306-1 Filed 08/19/20 Page 2 of 4 PageID #: 4774


    From:            Muneer Ahmad
    To:              Pezzi, Stephen (CIV); Rosenberg, Brad (CIV); Westmoreland, Rachael (CIV); Thorp, Galen (CIV); Marutollo,
                     Joseph (USANYE)
    Cc:              Trudy Rebert; Mayra Joachin; Araceli Martínez-Olguín; Paige Austin; Karen Tumlin; Dasgupta, Anisha;
                     batallavidal_lso@mailman.yale.edu; Finkelstein, Alex; Chien, Marsha (ATG); Taylor, Abigail (AGO); Nogueira,
                     Daniela; Khan, Sania; Colangelo, Matthew
    Subject:         Re: [Batallavidal_lso] Proposed schedule -- Batalla Vidal v. Wolf (16-cv-4756) and State of New York v. Trump
                     (17-cv-5228)
    Date:            Thursday, August 13, 2020 10:04:44 AM
    Attachments:     BV Proposed Briefing Schedule[2].docx


    Apologies for the second message. I am adding our State plaintiff colleagues, who were not on the
    original distribution list.

    Muneer I. Ahmad
    Sol Goldman Clinical Professor of Law
    and Deputy Dean for Experiential Education
    Yale Law School
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    From: BatallaVidal_LSO <batallavidal_lso-bounces@mailman.yale.edu> on behalf of Muneer
    Ahmad <muneer.ahmad@ylsclinics.org>
    Date: Thursday, August 13, 2020 at 8:56 AM
    To: "Pezzi, Stephen (CIV)" <Stephen.Pezzi@usdoj.gov>, "Rosenberg, Brad (CIV)"
    <Brad.Rosenberg@usdoj.gov>, "Westmoreland, Rachael (CIV)"
    <Rachael.Westmoreland@usdoj.gov>, "galen.thorp_usdoj.gov" <galen.thorp@usdoj.gov>,
    "Marutollo, Joseph (USANYE)" <Joseph.Marutollo@usdoj.gov>
    Cc: Trudy Rebert <rebert@nilc.org>, Mayra Joachin <Joachin@nilc.org>, Araceli Martínez-
    Olguín <martinez-olguin@nilc.org>, Paige Austin <paige.austin@maketheroadny.org>, Karen
    Tumlin <karen.tumlin@justiceactioncenter.org>, "batallavidal_lso@mailman.yale.edu"
    <batallavidal_lso@mailman.yale.edu>
    Subject: [Batallavidal_lso] Proposed schedule -- Batalla Vidal v. Wolf (16-cv-4756) and State of
    New York v. Trump (17-cv-5228)

    Dear Counsel,
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    Attached please find a proposed schedule in the above-referenced cases, made jointly by the Batalla
    Vidal and State of New York plaintiffs. We would appreciate your views on this schedule in advance
    of this afternoon’s hearing. If it would be helpful to speak by phone, please let us know.

    Best wishes,
    Muneer Ahmad

    Muneer I. Ahmad
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    Plaintiffs’ Proposed Schedule - Batalla Vidal v. Wolf (16-cv-4756) and State of New York v. Trump (17-cv-5228)


    8/13                                Status Conference/PMC
    9/10                                (1) Plaintiffs’ Amended Complaints
    (28 days)                           (2) BV Plaintiffs’ Motion for Class Certification
                                        (3) Plaintiffs’ Motion for Partial Summary Judgment

    9/21                                Government Production of Administrative Record (AR)
    (11 days from amended
    complaints)
    10/5                                Following conferral with Government, Plaintiffs’ motion, if necessary, to
    (14 days from production of AR)     complete AR and/or compel extra-record discovery

    10/12                               Government Opposition to Plaintiffs’ motion re. AR/extra-record discovery
    (7 days)                            (if any)

    10/8                                (1) Government answers/Motion to Dismiss
    (28 days from amended               (2) Government Opposition to BV Class Certification motion
    complaints)                         (3) Government Opposition to Partial SJ/Government Cross-Motion for SJ

    10/29                               (1) Plaintiffs’ Opposition to MTD
    (21 days)                           (2) BV Plaintiffs’ Reply on Class Certification
                                        (3) Plaintiffs’ Reply/Plaintiffs’ Opposition to SJ

    11/19                               (1) Government Reply to MTD
    (21 days)                           (2) Government Reply to Cross-Motion on SJ
